 Case 18-50378           Doc 521       Filed 11/05/19 Entered 11/05/19 11:41:59                  Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MINNESOTA


 In re:                                                   Case No. 18-50378 (WJF)
                                                          Chapter 7
 ERP IRON ORE, LLC,
                                                          NOTICE OF SETTLEMENT OR
                                Debtor.                   COMPROMISE

TO:       The United States Trustee, all creditors and other parties in interest:


On November 26, 2019, or as soon thereafter as the transaction may be completed and subject to objection
under applicable rules, the trustee will settle a controversy as follows:

The trustee alleges that One Source Equipment Rentals, Inc. received $4,099.86 of avoidable post-petition
transfers under 11 U.S.C. § 549. The trustee made demand on One Source in connection with the post-
petition payments. One Source has agreed to pay the estate $3,000.00 to resolve the post-petition transfers
within 5 business days after the settlement is approved by the court. In addition, One Source has agreed
that any claims it has filed in the bankruptcy case, including Claim No. 62, are deemed withdrawn and no
additional claims will be filed for payment of the settlement under 11 U.S.C. § 502(h) or otherwise.

Because the trustee believes the settlement is in the best interests of creditors, the trustee requests that the
settlement be approved as the costs of litigation will quickly offset any recovery to the estate.


OBJECTION: MOTION: HEARING. Under applicable rules, any objection must be in writing, be
delivered to the trustee and the United States Trustee, and be filed with the clerk, not later than 12:00
o’clock noon on the day before the above date. If an objection is made or an order is required, the trustee
moves the court for such orders as may be necessary and appropriate. If an objection is timely delivered
and filed, the court will hold an expedited hearing on the objection with reduced notice of the hearing. The
trustee will schedule the hearing with notice by the trustee to the objecting party and the United States
Trustee.

United States Bankruptcy Court              United States Trustee             Nauni Manty, Trustee
404 U.S. Courthouse                         1015 U.S. Courthouse              401 Second Avenue North
515 West First Street                       300 South Fourth Street           Suite 400
Duluth, MN 55802                            Minneapolis, MN 55415             Minneapolis, MN 55401

Dated: November 5, 2019
                                                             Signed: /e/Nauni Manty
                                                                       Nauni J. Manty, Trustee
            Case 18-50378         Doc 521       Filed 11/05/19 Entered 11/05/19 11:41:59                Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: ERP IRON ORE, LLC                                        CASE NO: 18-50378
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 11/5/2019, I did cause a copy of the following documents, described below,
Notice of Settlement or Compromise




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 11/5/2019
                                                          /s/ Nauni Manty
                                                          Nauni Manty
                                                          Manty & Associates, P.A.
                                                          401 Second Avenue North, Ste 400
                                                          Minneapolis, MN 55401
                                                          612 465 0954
                Case 18-50378           Doc 521        Filed 11/05/19 Entered 11/05/19 11:41:59                       Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: ERP IRON ORE, LLC                                               CASE NO: 18-50378

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 11/5/2019, a copy of the following documents, described below,

Notice of Settlement or Compromise




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 11/5/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Nauni Manty
                                                                            Manty & Associates, P.A.
                                                                            401 Second Avenue North, Ste 400
                                                                            Minneapolis, MN 55401
            Case 18-50378
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF Document       PageELECTRONIC
                                             E-SERVICE" RECEIVED   4 of 13 NOTICE THROUGH THE CM/ECF SYSTEM
CASE INFO                                AW KUETTEL SONS INC                     AFCO CREDIT CORPORATION
1LABEL MATRIX FOR LOCAL NOTICING         FABYANSKE WESTRA HART THOM              1133 AVENUE OF THE AMERICAS 27TH FLOOR
08645                                    333 SOUTH SEVENTH STREET                NEW YORK NY 10036-6710
CASE 18-50378                            SUITE 2600
DISTRICT OF MINNESOTA                    MINNEAPOLIS MN 55402-2437
DULUTH
TUE NOV 5 11-31-27 CST 2019



ALLETE INC DBA MINNESOTA POWER           CHAMPION STEEL MINNESOTA INC            CHESTER COMPANY LIMITED
30 WEST SUPERIOR STREET                  FABYANSKE WESTRA HART THOM              1035 7TH AVENUE EAST
DULUTH MN 55802-2191                     333 SOUTH SEVENTH STREET                HIBBING MN 55746-1405
                                         SUITE 2600
                                         MINNEAPOLIS MN 55402-2437




                                         DEBTOR
CLEVELAND CLIFFS INC                                                             FERGUSON ENTERPRISES INC
200 PUBLIC SQUARE                        ERP IRON ORE LLC                        CO JO RETTKE
SUITE 3300                               7908 US HIGHWAY 169 SUITE B             2350 W CTY RD C STE 150
CLEVELAND OH 44114-2315                  BOVEY MN 55709-7915                     ST PAUL MN 55113-2543




GLACIER PARK IRON ORE PROPERTIES LLC     HAMMERLUND CONSTRUCTION INC             HT SURFACE AND MINERAL LLC
755 E MULBERRY AVE SUITE 600             FABYANSKE WESTRA HART THOM              740 EAST SUPERIOR STREET
SAN ANTONIO TX 78212-6013                333 SOUTH SEVENTH STREET                DULUTH MN 55802-3702
                                         SUITE 2600
                                         MINNEAPOLIS MN 55402-2437




HUNT ELECTRIC CORPORATION                JEFFERIES LLC                           JOHN J MORGAN COMPANY
CO AARON A DEAN ESQ                      CO BASSFORD REMELE PA                   1413 THOMPSON AVE SUITE 1
MOSS BARNETT                             100 SOUTH FIFTH STREET SUITE 1500       SOUTH ST PAUL MN 55075-1472
150 SOUTH FIFTH STREET                   MINNEAPOLIS MN 55402-1254
SUITE 1200
MINNEAPOLIS MN 55402-4129




KOMATSU FINANCIAL LIMITED PARTNERSHIP    LAMEY LAW FIRM PA                       LEJEUNE STEEL COMPANY
1701 W GOLF ROAD SUITE 1300              980 INWOOD AVE N                        CO AARON A DEAN ESQ
ROLLING MEADOWS IL 60008-4208            OAKDALE MN 55128-6625                   MOSS BARNETT
                                                                                 150 SOUTH FIFTH STREET
                                                                                 SUITE 1200
                                                                                 MINNEAPOLIS MN 55402-4129




LIQUIDITY SOLUTIONS INC                  MAGGLOBAL LLC                           MAGNETATION INC
ONE UNIVERISTY PLAZA SUITE 312           CO AMY J SWEDBERG                       CO AMY J SWEDBERG
HACKENSACK NJ 07601-6205                 3300 WELLS FARGO CENTER                 MASLON LLP
                                         90 SOUTH 7TH STREET                     3300 WELLS FARGO CENTER
                                         MINNEAPOLIS MN 55402-3903               90 SOUTH 7TH STREET
                                                                                 MINNEAPOLIS MN 55402-4104



EXCLUDE                                  MERIDA NATURAL RESOURCES LLC            MINNESOTA DEPARTMENT OF REVENUE
MANTY ASSOCIATES PA                      192 SUMMERFIELD COURT SUITE 203         600 NORTH ROBERT STREET
401 2ND AVE N STE 400                    ROANOKE VA 24019-4581                   ST PAUL MN 55146-1176
MINNEAPOLIS MN 55401-2097




NORAMCO ENGINEERING CORPORATION          NORTHERN INDUSTRIAL ERECTORS INC        PARSONS ELECTRIC LLC
2729 13TH AVENUE EASE                    FABYANSKE WESTRA HART THOM              CO AARON A DEAN ESQ
HIBBING MN 55746-2314                    333 SOUTH SEVENTH STREET                MOSS BARNETT
                                         SUITE 2600                              150 SOUTH FIFTH STREET
                                         MINNEAPOLIS MN 55402-2437               SUITE 1200
                                                                                 MINNEAPOLIS MN 55402-4129
            Case 18-50378
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RANGE ELECTRIC INC                       RAVICH MEYER KIRKMAN MCGRATH NAUMAN     THE JAMAR COMPANY
FABYANSKE WESTRA HART THOM               TANSEY                                  CO AARON A DEAN ESQ
333 SOUTH SEVENTH STREET                 150 SOUTH FIFTH STREET                  MOSS BARNETT
SUITE 2600                               SUITE 3450                              150 SOUTH FIFTH STREET
MINNEAPOLIS MN 55402-2437                MINNEAPOLIS MN 55402-4201               SUITE 1200
                                                                                 MINNEAPOLIS MN 55402-4129




TOLTZ KING DUVALL ANDERSON AND           UNITED RENTALS NORTH AMERICA INC        VIKING ELECTRIC SUPPLY INC
ASSOCIATES                               CO AARON A DEAN ESQ                     CO MICHAEL P COATY
HELEY DUNCAN MELANDER PLLP               MOSS BARNETT                            HELEY DUNCAN MELANDER PLLP
8500 NORMANDALE LAKE BOULEVARD           150 SOUTH FIFTH STREET                  8500 NORMANDALE LAKE BLVD
SUITE 2110                               SUITE 1200                              SUITE 2110
MINNEAPOLIS MN 55437-3813                MINNEAPOLIS MN 55402-4129               MINNEAPOLIS MN 55437-3813



                                                                                 EXCLUDE
WEIR MINERAL NETHERLANDS                 WESCO DISTRIBUTION INC
CO LAMEY LAW FIRM                        225 WEST STATION SQUARE DR              DULUTH
980 INWOOD AVENUE NORTH                  PITTSBURG PA 15219-1151                 404 US COURTHOUSE
OAKDALE MN 55128-6625                                                            515 WEST FIRST STREET
                                                                                 DULUTH MN 55802-1302




1620 EAST 78TH STREET                    947 BLOOMFIELD STREET                   AW KUETTEL SONS INC
162                                      192 SUMMERFIELD COURT SUITE 203         FABYANSKE WESTRA ET AL
MINNEAPOLIS MN 55423-4645                ROANOKE NJ 24019-4581                   333 SOUTH SEVENTH STREET STE 2600
                                                                                 MINNEAPOLIS MN 55402-2437




ACCU DIG INC                             ADVANTAGE TECHNOLOGY                    AFCO
ATTN KYLE ROGERS                         950 KANAWHA BLVD E                      P O BOX 371889
4844 EAST 150 S                          CHARLESTON WV 25301-2842                PITTSBURGH PA 15250-7889
MONTICELLO IN 47960-2781




AFCO CREDIT CORPORATION                  ALLAN B HAMMEREL                        ALLETE INC DBA MINNESOTA POWER
5600 NORTH RIVER ROAD                    5708 N VIA LOZANA                       30 WEST SUPERIOR STREET
ROSEMONT IL 60018-5187                   TUCSON AZ 85750-1136                    DULUTH MN 55802-2093




ANA M CLARKE                             APPLIED INDUSTRIAL TECHNOLOGY           AUTOMATED DATA PROCESSING
15 APPLEDORE LANE                        1 APPLIED PLAZA                         11411 RED RUN BLVD
P O BOX 87                               CLEVELAND OH 44115-2519                 OWINGS MILLS MD 21117-3255
NATURAL BRIDGE VA 24578-0087




AW KUETTEL SONS INC                      B RILEY COMPANY LLC                     B RILEY FBR INC
ATTN THOMAS KUETTEL                      11100 SANTA MONICA BLVD                 11100 SANTA MONICA BOULEVARD SUITE 800
3930 AIRPARK BOULEVARD                   SUITE 800                               ATTN- ALAN FORMAN ESQ
DULUTH MN 55811-5729                     LOS ANGELES CA 90025-3979               LOS ANGELES CA 90025-3979




BAKER FIRE                               BARBARA CUNDIFF COLVILLE                BLUECROSS BLUESHIELD
P O BOX 766                              507 MORNING STAR LANE                   P O BOX 860448
BUHL MN 55713-0766                       NEWPORT BEACH CA 92660-5714             MINNEAPOLIS MN 55486-0048
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BNSF RAILWAY COMPANY                     BNSF RAILWAY COMPANY                    BNSF RAILWAY COMPANY
2650 LOU MENK DRIVE                      GROUP VICE INDUSTRIAL PRODUCTS          JONES LANG LASALLE BROKERAGE
MARKETING OFFICE BUILDING                2650 LOU MENK DRIVE                     4300 AMON CARTER BLVD STE 100
FORT WORTH TX 76131-2830                 FORT WORTH TX 76131-2830                FORT WORTH TX 76155-2685




BNSF RAILWAY COMPANY                     BNSF RAILWAY COMPANY                    BNSF RAILWAY COMPANY
JONES LANG LASALLE GLOBAL SVCS           P O BOX 676160                          P O BOX 961069
3017 LOU MENK DRIVE STE 100              DALLAS TX 75267-6160                    FORT WORTH TX 76161-0069
FORT WORTH TX 76131-2801




BNSF RAILWAY COMPANY                     BOUNDARY HUNTING CAMP                   BOUNDARY HUNTING CAMP
2500 LOU MENK DRIVE                      ATTN MICHAEL ANTONOVICH                 ATTN MICHAEL ANTONOVICH
AOB-3                                    209 HARTLEY                             P O BOX 224
FORT WORTH TX 76131-2828                 COLERAINE MN 55722                      COLERAINE MN 55722-0224




BROCK WHITE COMPANY LLC                  BENJAMIN J COURT                        CAROLINE C HERRICK
ATTN JONATHAN LLOYD                      STINSON LLP                             411 MULBERRY POINT ROAD
2575 KASOTA AVENUE                       50 S 6TH STREET SUITE 2600              GUILFORD CT 06437-3204
ST PAUL MN 55108-1590                    MINNEAPOLIS MN 55402-2241




CATERPILLAR FINANCIAL SERVICES           CATERPILLAR FINANCIAL SERVICES          CATERPILLAR FINANCIAL SVCS COR
ATTN SPEC ACCTS MANAGER                  P O BOX 730669                          P O BOX 30669
2120 WEST END AVENUE                     DALLAS TX 75373-0669                    DALLAS TX 75373-0669
NASHVILLE TN 37203-5341




CENTRAL RENT A CRANE INC                 CENTURY LINK                            CENTURYLINK COMMUNICATIONS
ATTN DEREK BAUMGARTNER                   P O BOX 2961                            1025 EL DORADO BLVD
4700 ACORN DRIVE                         PHOENIX AZ 85062-2961                   ATTN LEGAL BKY
INDEPENDENCE OH 44131-6942                                                       BROOMFIELD CO 80021-8254




CFSC                                     CHESTER COMPANY LIMITED                 CSX TRANSPORTATION INC
ATTN SPECIAL ACCTS MGR NABC              3920 13TH AVENUE E STE 7                500 WATER STREET
2120 WEST END AVENUE                     HIBBING MN 55746-3675                   JACKSONVILLE FL 32202-4445
NASHVILLE TN 37203-5251




CSX TRANSPORTATION INC                   CT LIEN SOLUTIONS                       CT LIEN SOLUTIONS
ATTN RUSS EPTING                         4520 MAIN STREET STE 1100               P O BOX 301133
500 WATER STREET J842                    KANSAS CITY MO 64111-7700               DALLAS TX 75303-1133
JACKSONVILLE FL 32202-4445




CATERPILLAR FINANCIAL SERVICES           CENTURYLINK COMMUNICATIONS LLC FKA      DAN ANDREWS
CORPORATION                              QWEST COM                               P O BOX 12
MONICA CLARK ESQ DORSEY WHITNE           ATTN LEGALBKY                           MARBLE MN 55764-0012
50 SOUTH SIXTH STREET SUITE 1500         1028 EL DORADO BLVD
MINNEAPOLIS MN 55402-1498                BROOOMFIELD CO 80021
            Case 18-50378
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DAVD L LEWIS                             DENTONS US LLP                          DIAMOND LAKE ROAD ASSOCIATION
309 WEST 43RD STREET STE 105             1221 AVENUE OF THE AMERICAS             P O BOX 351
SIOUX FALLS SD 57105-6805                NEW YORK NY 10020-1000                  BOVEY MN 55709-0351




                                         INTERNATIONAL                           INTERNATIONAL
DR MICHAEL L TUCK                        7018 3090 0001 1021 9585
5416 LAMONA AVENUE                                                               DSA INVESTMENTS INC
SHERMAN OAKS CA 91411-3603               DSA INVESTMENTS INC                     ATTN N DHARAMVEER
                                         ATTN JOHN ORAM                          LEVEL 28G SILVER TOWER
                                         LEVEL 28G SILVER TOWER                  CLUSTER I JUMEIRAH LAKE TOWERS
                                         CLUSTER I JUMEIRAH LAKE TOWERS          P O BOX 393324
                                         P O BOX 393324                          DUBAI UNITED ARAB EMIRATES
                                         DUBAI UNITED ARAB EMIRATES


DON HOSTETLER                            DONNA L CULVER                          ENCECO MEMBER
711 EAST 65TH STREET SUITE 208           1201 NORTH MARKET ST                    ATTN CHARLES A EBETINO JR
INDIANAPOLIS IN 46220-1609               16TH FLOOR                              3694 SEAFORD DRIVE
                                         WILMINGTON DE 19801-1147                COLUMBUS OH 43220-4842




ENCORE ENERGY                            ENERVANTAGE                             ERP COMPLAINT COKE LLC
12120 PORT GRACE BLVD STE 200            12120 PORT GRACE BLVD STE 200           15 APPLEDORE LANE
OMAHA NE 68128-8235                      LA VISTA NE 68128-8235                  P O BOX 87
                                                                                 NATURAL BRIDGE VA 24578-0087




FAEGRE BAKER DANIELS LLP                 FASTENAL COMPANY                        FERGUSON ENTERPRISES INC
ATTN DENNIS RYAN                         ATTN JOHN MILEK                         ATTN HOLLY WELCH
90 S SEVENTH STREET STE 2200             2001 THEURER BLVD                       1057 EAST 54TH STREET
MINNEAPOLIS MN 55402-3901                WINONA MN 55987-9902                    INDIANAPOLIS IN 46220-3489




FERGUSON ENTERPRISES INC                 FIRST AMERICAN TITLE INSURANCE CO       FERGUSON ENTERPRISES INC
ATTN HOLLY WELCH                         1201 WALNUT STREET STE 700              WAGNER FALCONER JUDD LTD
2350 W COUNTY RD C STE 150               KANSAS CITY MO 64106-2175               100 S 5TH ST STE 800
ROSEVILLE MN 55113-2543                                                          MPLS MN 55402-5357




GENERAL SECURITY SERVICES CORP           GENERAL WASTE DISPOSAL AND              GENERAL WASTE DISPOSAL AND
P O BOX 823424                           RECOVERY SERVICES                       RECOVERY SERVICES INC
PHILADELPHIA PA 19182-3424               P O BOX 312                             1 SW 7TH STREET
                                         CHISHOLM MN 55719-0312                  CHISHOLM MN 55719-1215




GLACIER PARK COMPANY                     GREAT NORTHERN IRON ORE PROPERTIES      GENERAL SECURITY SERVICES CORPORATION
CO CONOCO PHILLIPS COMPANY               801 EAST HOWARD STREET                  9110 MEADOWVIEW ROAD
600 NORTH DAIRY ASHFORD                  P O BOX 429                             BLOOMINGTON MN 55425-2458
HOUSTON TX 77079-1100                    HIBBING MN 55746-0429




HAMMERLUND CONSTRUCTION                  HAMMERLUND CONSTRUCTION INC             HAMMERLUNDS CHAMPION STEEL INC
ATTN JOHN A STENE                        FABYANSKE WESTRA ET AL                  NKA CHAMPION STEEL MN INC
40 COUNTY ROAD 63                        333 SOUTH SEVENTH STREET STE 2600       DBA CHAMPION STEEL
GRAND RAPIDS MN 55744-9631               MINNEAPOLIS MN 55402-2437               FABYANSKE WESTRA ET AL
                                                                                 333 SOUTH SEVENTH STREET STE 2600
                                                                                 MINNEAPOLIS MN 55402-2437
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HAMMERLUNDS CHAMPION STEEL INC           HAWKINSON CONSTRUCTION CO INC           HT SURFACE AND MINERALS LLC
DBA CHAMPION STEEL                       501 WEST COUNTY ROAD 63                 801 EAST HOWARD STREET
40 COUNTY ROAD 63                        GRAND RAPIDS MN 55744-4731              P O BOX 429
GRAND RAPIDS MN 55744-9631                                                       HIBBING MN 55746-0429




HUNT ELECTRIC CORPORATION                INDIANA DEPT OF REVENUE                 IRONMAN CONCRETE PUMPING INC
ATTN BRAD BOOS                           P O BOX 7224                            ATTN NORM VOIGT
4330 W FIRST STREET STE B                INDIANAPOLIS IN 46207-7224              37334 STATE HIGHWAY 65
DULUTH MN 55807-2239                                                             NASHWAUK MN 55769-4074




ITASCA COUNTY ATTORNEY                   ITASCA COUNTY AUDITOR                   ITASCA COUNTY LAND DEPARTMENT
ATTN JACK MUHAR                          123 NE 4TH STREET                       1177 LAPRAIRIE AVENUE
123 4TH STREET NE                        GRAND RAPIDS MN 55744-2681              GRAND RAPIDS MN 55744-3322
GRAND RAPIDS MN 55744-2681




ITASCA COUNTY REGIONAL                   ITASCA COUNTY TRANSPORTATION            INTERNAL REVENUE SERVICE
RAILROD AUTHORITY                        123 4TH STREET NE                       PO BOX 7346
123 NE FOURTH STREET                     GRAND RAPIDS MN 55744-2681              PHILADELPHIA PA 19101-7346
GRAND RAPIDS MN 55744-2659




JAMAR COMPANYTHE                         JAMES T LEWIS                           JEFFERIES LLC
ATTN CRAIG FELLMAN                       309 WEST 43RD STREET STE 105            520 MADISON AVENUE SIXTH FLOOR
4701 MIKE COLALILLO DRIVE                SIOUX FALLS SD 57105-6805               NEW YORK NY 10022-4344
DULUTH MN 55807-2762




JK MECHANICAL CONTRACTORS INC            JOHN C HAMMEREL JR                      JOHN G DEVANEY
ATTN JOE KLAMM                           10200 E CELTIC DRIVE                    10 POND VIEW DRIVE
240 5TH STREET                           SCOTTSDALE AZ 85260-7253                NANTUCKET MA 02554-4403
NASHWAUK MN 55769-1160




JOHN J MORGAN   COMPANY                  JOHN PARKER TRAUERNICHT                 JENNIFER E BELL
ATTN THOMAS G   MORGAN                   60 BAYVILLE ROAD                        192 SUMMERFIELD COURT SUITE 203
1413 THOMPSON   AVENUE STE 1             LOCUST VALLEY NY 11560-2028             ROANOKE VA 24019-4581
SOUTH ST PAUL   MN 55075-1472




                                                                                 INTERNATIONAL
JOHN J MORGAN COMPANY                    K BUILDING COMPONENTS INC
CO KURT M ANDERSON                       ATTN RIAN BURKES                        KATHERINE GAY BENOUN
PO BOX 15667                             1955 HIGHWAY 37                         8 RUE DE LEVIS
MINNEAPOLIS MN 55415-0667                HIBBING MN 55746-3613                   75017 PARIS FRANCE




KELLY CONSTRUCTION OF INDIANA            KERAMIDA                                KIMBALL H KNUTSON
ATTN DAVID DAUGHERTY                     401 N COLLEGE AVENUE                    2417 33RD AVENUE
3310 CONCORD ROAD                        INDIANAPOLIS IN 46202-3605              MINNEAPOLIS MN 55406-1463
LAFAYETTE IN 47909-5128
            Case 18-50378
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KELLY CONSTRUCTION OF INDIANA INC        FIRST MERCHANTS BANK NA                 LEJEUNE STEEL COMPANY
DAVID DAUGHERTY                          PO BOX 792                              ATTN JIM TORBORG
3310 CONCORD ROAD                        MUNCIE IN 47308-0792                    118 W 60TH STREET
LAFAYETTE IN 47909-5128                                                          MINNEAPOLIS MN 55419-2319




LIGHTHOUSE MANAGEMENT GROUP              LIQUIDITY SOLUTIONS INC                 LARA NATURAL RESOURCES LLC
ATTN JAMES CULLEN                        ATTN JEFF CARESS                        192 SUMMERFIELD COURT SUITE 203
900 LONG LAKE ROAD STE 180               ONE UNIVERSITY PLAZA STE 312            ROANOKE VA 24019-4581
NEW BRIGHTON MN 55112-6455               HACKENSACK NJ 07601-6205




LIGHTHOUSE MANAGEMENT GROUP INC          LIQUIDITY SOLUTIONS INC                 MAG GLOBAL
ATTN JIM BARTHOLOMEW                     ONE UNIVERSITY PLAZA SUITE 312          ATTN MICHAEL J TALARICO
900 LONG LAKE ROAD SUITE 180             HACKENSACK NJ 07601-6205                102 NE 3RD STREET STE 120
NEW BRIGHTON MN 55112-6455                                                       GRAND RAPIDS MN 55744-2868




MAG INC                                  MAGNETATION INC                         MAGNETATION LLC
ATTN MICHAEL J TALARICO                  102 THIRD STREET NE STE 120             ATTN MICHAEL J TALARICO
102 NE 3RD STREET STE 120                GRAND RAPIDS MN 55744-2868              102 NE 3RD STREET STE 120
GRAND RAPIDS MN 55744-2868                                                       GRAND RAPIDS MN 55744-2868




MARK P ROGERS                            MECHANICS MINERS LIEN CLAIMS            MEDIACOM BUSINESS
TRUSTEE MARK P ROGERS REV TRUS           LIGHTHOUSE MANAGEMENT GROUP             ONE MEDIACOM WAY
2410 MERRIMAC LANE                       900 LONG LAKE ROAD STE 180              MEDIACOM NY 10918-4810
PLYMOUTH MN 55447-2118                   NEW BRIGHTON MN 55112-6455




METLIFE                                  METRO SALES INC                         MIDWEST CONSTRUCTORS LLC
PO BOX 804466                            1620 EAST 78TH STREET                   ATTN LYNN L WALL
KANSAS CITY MO 64180-4466                MINNEAPOLIS MN 55423-4637               600 KENTUCKY AVENUE STE 100
                                                                                 INDIANAPOLIS IN 46225-1275




MINN DEPT OF NATURAL RESOURCES           MINNEAPOLIS OXYGEN CO                   MINNESOTA DEPARTMENT OF
500 LAFAYETTE ROAD                       3842 WASHINGTON AVENUE N                NATURAL RESOURCES
BOX 10                                   MINNEAPOLIS MN 55412-2168               1201 EAST HIGHWAY 2
ST PAUL MN 55155-4002                                                            GRAND RAPIDS MN 55744-3296




MINNESOTA DEPT NATURAL RESOURCES         MINNESOTA DEPT OF HEALTH                MINNESOTA DEPT OF LABOR    INDUSTRY
ATTN JESS RICHARDS                       RADIOACTIVE MATERIALS UNIT              443 LAFAYETTE ROAD
500 LAFAYETTE ROAD                       P O BOX 64497                           ST PAUL MN 55155-4301
ST PAUL MN 55155-4002                    ST PAUL MN 55164-0497




MINNESOTA DEPT OF NATURAL RESOURCES      MINNESOTA DEPT OF REVENUE               MINNESOTA INDUSTRIES INC
500 LAFAYETTE ROAD                       600 NORTH ROBERT STREET                 ATTN PAUL JANSSEN
BOX 10                                   ST PAUL MN 55101                        610 INDUSTRIAL AVENUE
ST PAUL MN 55155-4002                                                            CHISHOLM MN 55719
            Case 18-50378
PARTIES DESIGNATED              Doc NOT
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MINNESOTA POLLUTION                      MINNESOTA POWER                         MINNESOTA POWER
CONTROL AGENCY                           CO RANGE CREDIT BUREAU INC              P O BOX 1001
520 LAFAYETTE ROAD                       PO BOX 706                              DULUTH MN 55806-1001
ST PAUL MN 55155-4102                    HIBBING MN 55746-0706




MODSPACE                                 MOOSES HUNTING CAMP                     MERIDA NATURAL RESOURCES LLC
12603 COLLECTIONS CENTER DRIVE           ATTN DAVID VIDMAR                       ATTN TOM CLARKE
CHICAGO IL 60693-0126                    36477 FREESTONE ROAD                    192 SUMMERFIELD COURT SUITE 203
                                         GRAND RAPIDS MN 55744-5422              ROANOKE VA 24019-4581




MERIDA NATURAL RESOURCES LLC             MESABI METALLICS COMPANY LLC            MIDWEST CONSTRUCTORS LLC
CO DENTONS US LLP                        CO SIDLEY AUSTIN LLP                    HOSTETLER LAW
1221 AVENUE OF THE AMERICAS              ATTN- MICHAEL G BURKE                   711 EAST 65TH STREET SUITE 208
ATTN- OSCAR N PINKAS                     787 SEVENTH AVENUE                      INDIANAPOLIS IN 46220
NEW YORK NY 10020-1000                   NEW YORK NY 10019-6088                  INDIANAPOLIS IN 46220-1609




NIPSCO                                   NORAMCO ENGINEERING CORPORATION         NORAMCO ENGINEERING CORPORATION
P O BOX 13007                            ATTN JAMES ZIMMER                       P O BOX 1091
MERRILLVILLE IN 46411-3007               2729 13TH AVENUE EAST                   DULUTH MN 55810-0091
                                         HIBBING MN 55746-2314




NORTHERN INDIANA PUBLIC                  NORTHERN INDUSTRIAL ERECTORS            NORTHERN INDUSTRIAL ERECTORS INC
SERVICE COMPANY ATTN D COTA              ATTN DEREK BOSTYANCIC                   FABYANSKE WESTRA ET AL
801 E 86TH AVENUE                        P O BOX 308                             333 SOUTH SEVENTH STREET STE 2600
MERRILLVILLE IN 46410-6271               GRAND RAPIDS MN 55744-0308              MINNEAPOLIS MN 55402-2437




NORTHERN PLAINS RAIL SERVICE             NTS                                     NUBAI MEMBER
100 RAILROAD AVENUE                      526 CHESTNUT STREET                     ATTN JOHN ORAM
P O BOX 38                               VIRGINIA MN 55792-2532                  P O BOX 2416 ROAD TOWN
FORDVILLE ND 58231-0038                                                          TORTOLA VI 11100




OHIO DEPT OF REVENUE                     OLD NATIONAL TRUST COMPANY              ONE SOURCE EQUIPMENT RENTALS
4485 NORTHLAND RIDGE BLVD                1 MAIN STREET 3RD FL                    ATTN JACK BAXTER
COLUMBUS OH 43229-5404                   EVANSVILLE IN 47708-1464                2835 CONCORD ROAD
                                                                                 LAFAYETTE IN 47909-3306




PARSON ELECTRIC LLC                      POCAHONTAS MEMBER                       PRECISION TESTING INC
ATTN MICHAEL NORTHQUEST                  ATTN THOMAS M CLARKE                    ATTN CONNIE PEARSON
5960 MAIN STREET NE                      192 SUMMERFIELD COURT STE 203           5559 ENTERPRISE DRIVE NE
MINNEAPOLIS MN 55432-5480                ROANOKE VA 24019-4581                   VIRGINIA MN 55792-3614




PROGRESS RAIL                            PROGRESS RAIL                           PRYOR CASHMAN LLP
25083 NETWORK PLACE                      ATTN JONATHAN NEWMAN                    7 TIMES SQUARE
CHICAGO IL 60673-1250                    1600 PROGRESS DRIVE                     NEW YORK NY 10036-6569
                                         ALBERTVILLE AL 35950-8545
            Case 18-50378
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POCAHONTAS NATURAL RESOURCES LLC         PROGRESS RAIL LEASING CORPORATION       RANDALL LEE VANNET TRUST
CO DENTONS US LLP                        1600 PROGRESS DRIVE                     28938 ARBO ROAD
1221 AVENUE OF THE AMERICAS              ALBERTVILLE AL 35950-8545               GRAND RAPIDS MN 55744-6350
ATTN- OSCAR N PINKAS
NEW YORK NY 10020-1000




RANGE ELECTRIC INC                       RANGE ELECTRIC INC                      RAPIDS PROCESS EQUIPMENT INC
ATTN ANNA MAHAN                          FABYANSKE WESTRA ET AL                  ATTN BRENT ROERING
1102 NORTH THIRD STREET                  333 SOUTH SEVENTH STREET STE 2600       26489 INDUSTRIAL BLVD
SUPERIOR WI 54880-1230                   MINNEAPOLIS MN 55402-2437               COHASSET MN 55721-8696




RAW MATERIALS IRONMAKING                 RGGS LAND MINERALS LTD LP               RGGS LAND MINERALS LTD LP
1992 EASTHILL DRIVE                      P O BOX 1266                            P O BOX 4667
BETHLEHEM PA 18017-2709                  209 E 8TH STREET S                      HOUSTON TX 77210-4667
                                         VIRGINIA MN 55792-1266




RONS KORNER PROPERTIES                   RUDD EQUIPMENT COMPANY                  ROBB J BIGELOW
7896 US HIGHWAY 169                      DEPT 77432                              192 SUMMERFIELD COURT SUITE 203
BOVEY MN 55709-7905                      P O BOX 77000                           ROANOKE VA 24019-4581
                                         DETROIT MI 48277-2000




SCHECK INDUSTRIAL CORPORATION            SCHWARTZ REDI MIX INC                   SHAMBAUGH SON LP
ATTN KAREN P LAYNG                       34882 SCENIC HWY                        ATTN BILL MEYER
800 E PLAINFIELD ROAD                    BOVEY MN 55709-6032                     7614 OPPORTUNITY DRIVE
COUNTRYSIDE IL 60525                                                             FORT WAYNE IN 46825-3363




SOLID PLATFORMS INC                      ST LOUIS COUNTY AUDITOR   TREAS         STATE OF MINNESOTA
ATTN JASON R LAMMERTIN                   100 N 5TH AVENUE W                      500 LAFAYETTE ROAD
6610 MELTON ROAD                         DULUTH MN 55802-1287                    BOX 10
PORTAGE IN 46368-1236                                                            ST PAUL MN 55155-4002




STEPHEN E LEWIS                          STEPHEN E LEWIS                         STEVE ELLISON
2660 MAPLE AVENUE                        305 LOCKHART CT                         19853 COUNTY ROAD 10
NORTHBROOK IL 60062-5267                 FRANKLIN TN 37069-6568                  WARBA MN 55793-1663




SUTTLE STALNAKER                         SWEARINGEN CONSULTING LLC               SYSTEMS ASSOCIATES INC
1411 VIRGINIA STREET E STE 100           6424 WOODLAND COURT                     1932 INDUSTRIAL DRIVE
CHARLESTON WV 25301-3016                 AURORA MN 55705-8700                    LIBERTYVILLE IL 60048-9716




SOLID PLATFORMS INC                      SOMPO INTERNATIONAL INSURANCE           STATE OF MINNESOTA DEPT OF NATURAL
JASON R LAMMERTIN                        CO LEE WOODARD ESQ                      RESOURC
6610 MELTON ROAD                         HARRIS BEACH PLLC                       500 LAFAYETTE ROAD
PORTAGE IN 46368-1236                    333 WEST WASHINGTON STREET SUITE 200    BOX 45
                                         SYRACUSE NY 13202-5202                  ST PAUL MN 55155-4002
            Case 18-50378
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STEVEN JONES                             STEVEN MARK JONES                       TENOVA CORE
1602 FOREST HILLS AVE                    1602 FOREST HILLS AVENUE                75 REMITTANCE DRIVE DEPT 3168
GRAND RAPIDS MN 55744-4189               GRAND                                   CHICAGO IL 60675-3168
                                         RAPIDS MN 55744-4189




THOMAS M CLARKE                          TOLTZ KING DUVALL ANDERSON              TRANE US INC
15 APPLEDORE LANE                        ASSOC INC DBA TKDA                      ATTN ROBERT ROERS
P O BOX 87                               444 CEDAR STREET STE 1500               3600 PAMMEL CREEK ROAD
NATURAL BRIDGE VA 24578-0087             ST PAUL MN 55101-2110                   LA CROSSE WI 54601-7511




TROUMBLY BROTHERS PARTNERSHIP            TWIN CITY FAN COMPANIES LTD             THOMAS M CLARKE
P O BOX 405                              ATTN CHRISTINE ARRELL                   192 SUMMERFIELD COURT SUITE 203
TACONITE MN 55786-0405                   5959 TRENTON LANE N                     ROANOKE VA 24019-4581
                                         PLYMOUTH MN 55442-3238




TOLTZ KING DUVALL ANDERSON AND           TRANE US INC                            US BANK
ASSOCIATES                               CO WAGNER FALCONER JUDD LTD             PO BOX 5229
ATTN THOMAS S STONEBURNER PE             100 SOUTH 5TH STREET                    CINCINNATI OH 45201-5229
444 CEDAR STREET SUITE 1500              SUITE 800
ST PAUL MN 55101-2140                    MINNEAPOLIS MN 55402-1203




                                         EXCLUDE
U S NUCLEAR REGULATORY COMMISSION                                                ULLAND BROTHERS INC
11545 ROCKVILLE PIKE                     US TRUSTEE                              ATTN LANCE STRANDBERG
ROCKVILLE MD 20852-2746                  300 SOUTH FOURTH                        1634 HWY 210
                                         SUITE 1015                              CARLTON MN 55718-8176
                                         MINNEAPOLIS MN 55415-3070




UNITED RENTALS NORTH AMERICA             UNITED STATES STEEL CORP                UNITED STATES STEEL CORPORATION
ATTN TARA MILLER                         OLD HIGHWAY 169                         332 MINNESOTA STREET
6125 LAKEVIEW ROAD STE 300               P O BOX 417                             ST PAUL MN 55101-1314
CHARLOTTE NC 28269-2616                  MT IRON MN 55768-0417




EXCLUDE                                  VIKING ELECTRIC SUPPLY INC              VIKING ELECTRIC SUPPLY INC
US TRUSTEE                               ATTN MIKE WIERZCHOWSKI                  HELEY DUNCAN MELANDER PLLP
1015 US COURTHOUSE                       451 INDUSTRIAL BOULEVARD NE             ATTN- MICHAEL P COATY ESQ
300 S 4TH ST                             MINNEAPOLIS MN 55413-2938               8500 NORMANDALE LAKE BLVD SUITE 2110
MINNEAPOLIS MN 55415-3070                                                        MINNEAPOLIS MN 55437-3813




WARD B LEWIS JR REV TRUST                WASTE MANAGEMENT OF INDIANA             WASTE MANAGEMENT OF WI MN
CO ERICA LEWIS                           P O BOX 4648                            P O BOX 4648
490 S MILLEDGE AVENUE                    CAROL STREAM IL 60197-4648              CAROL STREAM IL 60197-4648
ATHENS GA 30605-1050




WEIR MINERALS NETHERLANDS                WELDSTAR                                WESCO DISTRIBUTION INC
CO BERENS MILLER                         P O BOX 1150                            ATTN STEVEN KATZ
80 SOUTH 8TH STREET STE 3720             AURORA IL 60507-1150                    5554 ENTERPRISE DRIVE NE
MINNEAPOLIS MN 55402-2219                                                        VIRGINIA MN 55792-3692
            Case 18-50378
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WESCO DISTRIBUTION INC                   WHITE COUNTY INDIANA                    WHITE COUNTY TREASURER
WAGNER FALCONER JUDD LTD                 ATTN AUDITOR                            P O BOX 388
100 S 5TH ST STE 800                     2013 WEST 25 SOUTH                      MONTICELLO IN 47960-0388
MPLS MN 55402-5357                       MONTICELLO IN 47960




WILLIAM CLAYTON TRAUERNICHT              WILLIAMS SCOTSMAN INC                   WILMINGTON SAVINGS FUND
60 BAYVILLE ROAD                         P O BOX 91975                           SOCIETY FSB
LOCUST VALLEY NY 11560-2028              CHICAGO IL 60693-1975                   500 DELAWARE AVENUE
                                                                                 WILMINGTON DE 19801-7405




WILMINGTON SAVINGS FUND SOCIETY          WINTHROP WEINSTINE PA                   WAGNER FALCONER JUDD LTD
ATTN GEOFFREY J LEWIS                    225 S SIXTH STREET STE 3500             100 SOUTH FIFTH STREET SUITE 800
500 DELAWARE AVENUE                      MINNEAPOLIS MN 55402-4629               MINNEAPOLIS MN 55402-5357
WILMINGTON DE 19801-7405




WEIR MINERALS NETHERLANDS BV             WHITE COUNTY INDIANA                    WILMINGTON SAVINGS FUND SOCIETY FSB
DONNA L CULVER                           JONATHAN SUNDHEIMER BARNES    THORN     500 DELAWARE AVENUE
1201 NORTH MARKET STREET                 11 SOUTH MERIDIAN STREET                ATTN- PATRICK HEALY
16TH FLOOR                               INDIANAPOLIS IN 46204-3506              WILMINGTON DE 19801-7405
WILMINGTON DE 19801-1147




XTREME CONTRACTORS CO LLC                ZEIGLER INC                             ANDREA M HAUSER
ATTN TARA WILSON                         SDS 120436                              LEONARD OBRIEN SPENCER GALE S
348 E US HIGHWAY 24                      PO BOX 86                               100 SOUTH FIFTH STREET SUITE 2500
REYNOLDS IN 47980-8000                   MINNEAPOLIS MN 55486-0436               MINNEAPOLIS MN 55402-1234




                                                                                 EXCLUDE
CO LAMEY LAW FIRM P WEIR MINERALS        JOHN MUHAR ITASCA COUNTY
NETHERLAN                                ITASCA COUNTY ATTORNEY                  NAUNI JO MANTY
980 INWOOD AVE N                         123 4TH STREET NE                       MANTY ASSOCIATES PA
OAKDALE MN 55128-6625                    GRAND RAPIDS MN 55744-2681              401 SECOND AVENUE NORTH
                                                                                 SUITE 400
                                                                                 MINNEAPOLIS MN 55401-2097



EXCLUDE
WILL R TANSEY
RAVICH MEYER KIRKMAN MCGRATH NAUMAN
TA
150 SOUTH FIFTH STREET
SUITE 3450
MINNEAPOLIS MN 55402-5311
